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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                  CASE NO. 1:02-cr-00022-MP

JOHN GRISWOLD BRANDIES, JR,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 504, Motion for Early Termination of Probation,

filed by Mr. Brandies. Pursuant to 18 U.S.C. § 3564(c), the Court has considered the factors set

forth in 18 U.S.C. § 3553(a) and determines that early termination is not warranted at this time.

Accordingly, the motion is denied.


       DONE AND ORDERED this 14th day of August, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
